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 8                        UNITED STATES DISTRICT COURT

 9                     EASTERN DISTRICT OF CALIFORNIA
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11   JESSE VANG, et al,                No.   2:16-cv-2172-JAM-CMK
12                Plaintiffs,
13        v.                           ORDER GRANTING DEFENDANTS ALEX
                                       NISHIMURA AND CAL FIRE’S MOTION
14   SHERIFF JON LOPEY, et al,         TO DISMISS
15                Defendants.
16

17        Plaintiffs, several Hmong individuals who own property in

18   Siskiyou County (“the County”), allege Defendants California

19   Department of Forestry and Fire Protection (“Cal Fire”) and Alex

20   Nishimura (“Nishimura”), an investigator for the California

21   Secretary of State, violated the Constitution and state and

22   federal law in investigating allegations of voter fraud.       Second

23   Amended Complaint (“SAC”), ECF No. 56.    Cal Fire and Nishimura

24   (collectively “Defendants”) move to dismiss Plaintiffs’ SAC.       ECF

25   No. 58.   Plaintiffs oppose the motion.   ECF No. 60. 1

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27     This motion was determined to be suitable for decision without
     oral argument. E.D. Cal. L.R. 230(g). The hearing was
28   scheduled for April 4, 2017.
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 1                                  I.    FACTS

 2           The Court takes the facts alleged by Plaintiffs as true for

 3   purposes of this motion.

 4           Many members of the Hmong community in the County attempted

 5   to register to vote before the June 2016 election.         SAC ¶ 18.

 6   County clerk Colleen Setzer forwarded copies of several voter

 7   registration cards to the California Secretary of State Election

 8   Fraud Division for investigation.        SAC ¶ 19.   Around May 2016,

 9   Plaintiffs received letters from Nishimura indicating the
10   Secretary of State would begin conducting a voter fraud
11   investigation.    SAC ¶ 24.
12        On June 1, 2016, Cal Fire officer Monte Whipple and other

13   individuals from Siskiyou County participated in voter fraud

14   investigations.    SAC ¶ 27.   Members of these investigation teams

15   told Plaintiffs “they could not use their property to register to

16   vote, and would be prosecuted if they attempted to vote.”           SAC

17   ¶ 31.    The investigation team included “at least one officer of a

18   government agency carrying an assault rifle.”        Id.

19        On June 2, an investigation team visited Dang Xiong’s
20   property.    SAC ¶ 73.   “As Mr. Xiong approached the vehicles, the

21   sheriff’s officer and the person in the CAL-FIRE truck pulled out

22   two assault rifles.”     SAC ¶ 74.    Xiong feared voting after his

23   interaction with the armed Cal Fire agent, but Xiong still voted on

24   June 7 using a provisional ballot.       SAC ¶ 78.

25        Also on June 2, Nishimura visited Plaintiff Jesse Vang’s

26   property and told Vang “he would go to jail if he voted on June

27   7, 2016, because he did not register properly online.”        SAC

28   ¶¶ 47-50.    Vang did not vote in the June or November elections
                                          2
 1   because he feared arrest if he voted.      SAC ¶ 54.

 2        Plaintiffs do not make any other specific factual

 3   allegations against Nishimura or Cal Fire in their SAC.

 4        Plaintiffs bring nine claims in total.      Six of these claims

 5   are against Cal Fire and Nishimura: (1) unreasonable search and

 6   seizure under § 1983, (2) violation of the Fourteenth Amendment

 7   under § 1983, (3) negligence, (4) violation of California

 8   Elections Code § 14027, (5) violation of § 2 of the Voting Rights

 9   Act (“VRA”), and (6) negligent infliction of emotional distress
10   (“NIED”).   SAC at 29-38.    Plaintiffs bring a seventh claim
11   against only Cal Fire for negligent hiring and supervision.        SAC
12   at 36.
13

14                                II. OPINION
15        A.     Claims Against Cal Fire

16        Cal Fire argues that other than the VRA claim, the Eleventh

17   Amendment bars “all of Plaintiff’s claims against the state

18   agency CAL FIRE.”   Mot. at 4.

19               1.   § 1983 Claims Against Cal Fire (First and Second
                      Causes of Action)
20

21        The Eleventh Amendment bars a citizen from bringing a suit

22   against the citizen’s own state in federal court.      Clark v.

23   California Dep't of Forestry & Fire Prot., 2016 WL 4411816, at *5

24   (N.D. Cal. Aug. 19, 2016).    “This immunity also extends to state

25   agencies and departments,” including Cal Fire.    Id.

26        Some exceptions exist to state sovereign immunity, such as if

27   a state expressly waives its immunity and consents to suit in

28   federal court or if Congress overrides that immunity.      Moreno v.
                                         3
 1   Thomas, 490 F. Supp. 2d 1055, 1059 (C.D. Cal. 2007).   “The State of

 2   California has not waived its Eleventh Amendment immunity with

 3   respect to claims brought under § 1983 in federal court, and the

 4   Supreme Court has held that § 1983 was not intended to abrogate a

 5   State’s Eleventh Amendment immunity.”   Id. (internal quotation

 6   marks and citations omitted).    But, the Eleventh Amendment “does

 7   not preclude a suit against state officers for prospective relief

 8   from an ongoing violation of federal law.”    Children’s Hosp. &

 9   Health Ctr. v. Belshe, 188 F.3d 1090, 1095 (9th Cir. 1999).

10        Plaintiffs argue their first two claims should proceed against

11   Cal Fire because they seek “prospective injunctive and declaratory

12   relief.”   Opp’n at 6.   But the Eleventh Amendment exception for

13   pursuing injunctive relief applies only to “state officers,” not to

14   state agencies.    See Children’s Hosp., 188 F. 3d. at 1095.   The

15   Court therefore finds Cal Fire is immune from liability for

16   Plaintiffs’ § 1983 claims, and thus dismisses Plaintiffs’ first two

17   claims against Cal Fire with prejudice.

18              2.     State Common Law Claims Against Cal Fire (Fifth,
                       Sixth, and Ninth Causes of Action)
19
20        Plaintiffs assert three California state common law claims

21   against Cal Fire: negligence, negligent hiring/supervision, and

22   NIED.   SAC at 35-36, 40.    As stated in this Court’s previous

23   Order, “[i]t is well-settled that there is no common law tort

24   liability for public entities in California; instead, such

25   liability must be based on statute.”      Cardinal v. Buchnoff, 2010

26   WL 3609489, at *2 (S.D. Cal. Sept. 14, 2010).      Plaintiffs’ fifth,

27   sixth, and ninth claims are based on common law, not statute, and

28   thus are dismissed as brought against Cal Fire with prejudice.
                                        4
 1              3.     California Elections Code § 14027 (Seventh Cause
                       of Action)
 2

 3        Plaintiffs allege Cal Fire “use[d] an ‘at-large election’ to

 4   pass Measures T and U, in an intentional, unlawful and selective

 5   way for the purpose of disenfranchising Plaintiffs” in violation

 6   of California Elections Code § 14027.    SAC ¶ 155.   The Court

 7   discussed § 14027 in its previous Order and stated that it

 8   “appl[ies] to elections of candidates.”    1/13/17 Order at 12, ECF

 9   No. 51.   Plaintiffs have once again failed to “cite to any

10   authority to support their contention that [§ 14027] appl[ies] to

11   passage of measures or propositions.”    See id.   The Court

12   dismisses Plaintiffs’ seventh claim for violation of California

13   Election Code § 14027 as brought against Cal Fire and Nishimura

14   with prejudice.

15              4.     Violation of the Voting Rights Act (Eighth Cause
                       of Action)
16

17        Plaintiffs allege Cal Fire violated 52 U.S.C. § 10303(f)(2)

18   by “impos[ing] voting qualifications and/or prerequisites to

19   voting and/or standards, practices, or procedures in a manner

20   resulting in a denial or abridgement of the right of Plaintiffs

21   . . . to vote on account of race or color.”    SAC ¶ 158.   Section

22   10303(f)(2) states that “[n]o voting qualification or

23   prerequisite to voting, or standard, practice, or procedure

24   shall be imposed or applied by any State or political

25   subdivision to deny or abridge the right of any citizen of the

26   United States to vote because he is a member of a language

27   minority group.”    52 U.S.C. § 10303(f)(2).

28        Cal Fire argues the presence of one of its officers during
                                        5
 1   an investigation into voter fraud “does not amount to an

 2   imposition of a prerequisite, or ‘standard, practice, or

 3   procedure’ in violation of the Voting Rights Act.”   Mot. at 15.

 4   Plaintiffs respond that the “voter provisions, intimidation

 5   tactics and restrictions which targeted Plaintiffs [and

 6   interfered] with Plaintiffs[‘] right to vote, rose to a

 7   ‘standard, practice, or procedure’ from which a court must find

 8   a violation of § 2 of the Voting Rights Act.”   Opp’n at 13.

 9   Plaintiffs do not cite to any legal authority to support this
10   claim.
11        The only factual allegations against Cal Fire are that Cal
12   Fire officials assisted with a voter fraud investigation on two
13   days in June 2016 while carrying assault rifles.   The Court
14   finds these allegations insufficient to allege Cal Fire’s
15   conduct rose to the level of the imposition of a “standard,
16   practice, or procedure” with the intent to deny Plaintiffs the
17   right to vote.   The Court dismisses the VRA claim as brought
18   against Cal Fire with prejudice.
19        The Court also dismisses the VRA claim as brought against
20   Nishimura with prejudice because Nishimura is not a “State or

21   political subdivision” to which the VRA applies.

22        B.   Remaining Claims Against Nishimura

23             1.     Search and Seizure § 1983 Claim (First Cause of
                      Action)
24

25        Nishimura argues that Plaintiffs have not stated a § 1983

26   unlawful search and seizure against him.   Mot. at 8-9.

27   Plaintiffs respond that “Nishimura authored an investigatory

28   letter,” asked one plaintiff for his name and identification,
                                        6
 1   and threatened the same plaintiff that he would go to jail if he

 2   voted in the June 2016 election.         Opp’n at 7.

 3          But state officials do not violate the right against search

 4   and seizure when they “ask questions of an individual [or] ask

 5   to examine the individual’s identification.”           United States v.

 6   Gutierrez-Llamas, 24 F. App'x 787, 788 (9th Cir. 2001).          As to

 7   the allegations that Nishimura “authored an investigatory

 8   letter” and told a plaintiff that he could go to jail,

 9   Plaintiffs do not provide any legal authority stating these
10   actions constitute unlawful search and seizure.          Plaintiffs make
11   other allegations against Nishimura in their opposition brief—
12   i.e. Nishimura engaged in some planning meetings with County
13   officials—but none of these allegations appear in Plaintiffs’
14   SAC.
15          There are no allegations that Nishimura personally searched

16   or seized any of Plaintiffs’ persons or property.          The Court

17   therefore dismisses Plaintiffs’ first claim as brought against

18   Nishimura with prejudice.

19               2.    Due Process Claim (Second Cause of Action)
20          Plaintiffs allege Nishimura was “deliberately indifferent

21   to the health and safety of Plaintiffs” or “acted with purpose

22   to cause harm” in violation of the Fourteenth Amendment.          SAC

23   ¶ 130.

24                     i.     Deliberate Indifference

25          The Fourteenth Amendment’s Due Process Clause “does not

26   confer any affirmative right to governmental aid and typically

27   does not impose a duty on the state to protect individuals from

28   third parties.”        A.D. v. California Highway Patrol, 712 F.3d
                                          7
 1   446, 453 (9th Cir. 2013) (internal quotation marks omitted).

 2   There are two exceptions to this rule: (1) the “special

 3   relationship” exception—when a custodial relationship exists

 4   between the plaintiff and the State such that the State assumes

 5   some responsibility for the plaintiff's safety and well-being;

 6   and (2) the “state-created danger” exception—when the state

 7   affirmatively places the plaintiff in danger by acting with

 8   deliberate indifference to a known and obvious danger.      Id.

 9        Plaintiffs have not pled facts to support that either of
10   the two exceptions apply.     Plaintiffs’ “deliberate indifference”
11   claim against Nishimura fails, and the Court dismisses it with
12   prejudice.
13                     ii.   Purpose to Harm

14        A law enforcement officer violates the Fourteenth Amendment

15   when he acts with “a purpose to cause harm unrelated to the

16   legitimate object of arrest.”     Estate of Kosakoff ex rel.

17   Kosakoff v. City of San Diego, 460 F. App’x 652, 655 (9th Cir.

18   2011).   Plaintiffs do not indicate in their SAC or in their

19   opposition how Nishimura acted with “purpose to cause harm”
20   toward Plaintiffs.

21        The Court dismisses the first and second claims as brought

22   against Nishimura with prejudice.       Because Plaintiffs have not

23   stated § 1983 claims against Nishimura and because the Court

24   dismisses those claims with prejudice, the Court need not

25   address Nishimura’s assertions of Eleventh Amendment immunity

26   and qualified immunity.

27                3.   State Law Claims (Fifth and Ninth Claims)

28        In addition to the California Elections Code § 14027 claim—
                                         8
 1   which the Court dismissed above—Plaintiffs bring two other state

 2   claims against Nishimura: negligence and NIED.   SAC at 35, 40.

 3         Nishimura argues California Government Code § 821.6 shields

 4   him from liability from Plaintiffs’ state law claims.     Mot. at

 5   11.   Section 821.6 states that “[a] public employee is not

 6   liable for injury caused by his instituting or prosecuting any

 7   judicial or administrative proceeding within the scope of his

 8   employment, even if he acts maliciously and without probable

 9   cause.”   Cal. Gov’t Code § 821.6.
10         California courts construe section 821.6 broadly.   Gillan v.

11   City of San Marino, 147 Cal. App. 4th 1033, 1048 (2007). “Section

12   821.6 is not limited to conduct occurring during formal

13   proceedings.   It also extends to actions taken in preparation for

14   formal proceedings.   Because investigation is ‘an essential step’

15   toward the institution of formal proceedings, it is also cloaked

16   with immunity.”   Clark v. Cty. of Tulare, 2010 WL 5437195, at *2

17   (E.D. Cal. Dec. 27, 2010) (quoting Javor v. Taggart, 98

18   Cal.App.4th 795, 808 (2002)) (internal punctuation omitted).

19         Plaintiffs argue Nishimura’s “actions exceed the scope of
20   immunity protection” offered by § 821.6.   Opp’n at 12.

21   Plaintiffs do not provide any legal authority to support their

22   contention that Nishimura’s actions in investigating potential

23   voter fraud exceeded § 821.6 immunity.   Nishimura argues

24   “Plaintiffs have only alleged that Nishimura sent letters

25   requesting Plaintiffs fill out a questionnaire and visited and

26   spoke with Plaintiffs in furtherance of his investigation . . .

27   These actions are well within the [§ 821.6] immunity.”    Mot. at

28   11.
                                      9
 1        The Court agrees with Nishimura.     The factual allegations

 2   against him arose in the context of his investigation of

 3   potential voter fraud and § 821.6 therefore shields him from

 4   liability for state law claims.    The Court dismisses the fifth

 5   and ninth causes of action as brought against Nishimura with

 6   prejudice.

 7

 8                             II.     ORDER

 9        For the reasons set forth above, the Court GRANTS
10   Defendants’ motion to dismiss with prejudice.    Nishimura and Cal
11   Fire are dismissed as defendants in this case.
12

13        IT IS SO ORDERED.
14   Dated: May 3, 2017
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